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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

  IN RE FLINT WATER LITIGATION               Case No. 5:16-cv-10444-JEL-MKM
                                             Hon. Judith E. Levy

  This Document Relates To:
  Gaddy et al. v. Flint et al.     Case No. 5:17-cv-11166-JEL-MKM
  Meeks et al. v. Flint et al.     Case No. 5:17-cv-11165-JEL-MKM
 __________________________________________________________________

    DEFENDANTS VEOLIA NORTH AMERICA, LLC, VEOLIA NORTH
       AMERICA, INC. AND VEOLIA WATER NORTH AMERICA
           OPERATING SERVICES, LLC’S MOTION TO
            SUPPLEMENT THE RECORD ON APPEAL

       Defendants Veolia North America, LLC, Veolia North America, Inc., and

 Veolia Water North America Operating Services, LLC (VNA) move to supplement

 the record for appeal pursuant to Federal Rule of Appellate Procedure 10(e) and the

 Court’s inherent authority. Copies of the documents proposed to be added to the

 record are attached to this Motion (Exhibits A-Q) and include VNA’s submissions

 and the Court’s e-mail ruling on the Fifth Amendment, VNA’s submission on

 Alternative Causes (as referenced in ECF No. 702), VNA’s submission and the

 Court’s February 14, 2022 e-mail chain ruling on the OIG and Task Force Reports,

 VNA’s submission on the EPA Administrative Order, VNA’s submission on the

 late-disclosed witnesses, and the various versions of the jury instructions and verdict

 forms.



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       VNA requests that these documents be added to the record to augment and

 complete statements and arguments made by the parties in their briefing so that they

 are part of the record on appeal. As grounds for its Motion, VNA states that the Court

 and the parties have frequently communicated during the trial via email,

 correspondence, and other informal means, without filing the communications on

 the docket maintained by the Clerk of the Court. While the Appeals Court has access

 to the district court’s electronic record, which includes the papers and exhibits the

 parties filed with the district court, these other communications are not included in

 the docket so are not available to the Appeals Court as part of the record.

       The district court has discretion to supplement the record to ensure its

 accuracy. In re Fisher, 296 F. App’x 494, 503 (6th Cir. 2008). Under Fed. R. App.

 10(e), a district court is permitted to correct or supplement the record on appeal

 where “anything material to either party is omitted from or misstated in the record

 by error or accident.” The purpose of the rule is to allow the district court to correct

 omissions from the record for appeal. S & E Shipping Corp. v. Chesapeake & O.R.

 Co., 678 F.2d 636, 641 (6th Cir. 1983).

       Here, VNA seeks to supplement the record to include communications and

 materials exchanged between the Court and VNA to ensure a complete record is

 available to the Appeals Court in the event the case is appealed. There is authority

 to support the supplementation of such material omitted from the record by error,



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 oversight or accident. Hanson v. Parkside Surgery Center, 872 F.2d 745 (6th Cir.

 1989) (permitting district court to allow “for correction of the record . . . the contents

 of an unreported pretrial meeting held in chambers” to discuss the manner and

 selection of the jury, which later became an appellate issue despite objection by the

 plaintiffs-appellants).

       Plaintiffs have previously proposed supplementing the record so that it

 accurately reflects what happened at the trial. See ECF 898. VNA raised no objection

 to Plaintiffs’ request because it was appropriate to add the documents to the record

 for the purposes of appeal. Indeed, if this case were up on appeal, such a motion

 would be made to the Sixth Circuit since “appellate courts have generally prevented

 trial courts from developing supplemental findings after the notice of appeal has

 been filed.” Inland Bulk Transfer Co. v. Cummings Engine Co., 332 F.3d 1007, 1013

 (6th Cir. 2003). However, since this case has not yet been appealed, such a motion

 is better made to the district court so that the omitted material can be filed on the

 docket while the case remains pending before the district court. United States v.

 Barrow, 118 F.3d 482, 486, 488 (6th Cir. 1997) (holding that district court did not

 err in supplementing trial record to include the parties’ submissions regarding jury

 instructions, which “were submitted to and used by the court”).

       As Local Rule 7.1(a) requires, VNA conferred with Plaintiffs’ counsel

 concerning this particular Motion and received no response.



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       VNA’s request is made in good faith and for good cause to ensure the record

 is complete for appeal. To ensure that the record accurately reflects what happened

 at trial, VNA collected the communications and materials submitted to the Court and

 for filing on the docket, inviting the Court and the other parties to review them before

 they were filed. Accordingly, the Court should grant VNA’s Motion and allow the

 supplementation.

       WHEREFORE, VNA requests that the Court grant its Motion and supplement

 the record with the attached documents (Exhibits A-Q) to enable the Appeals Court

 to address with as much precision as possible any issue with respect to these matters

 which may be raised on appeal.

                           CERTIFICATE OF SERVICE

       I hereby certify that on August 15, 2022, I electronically filed the foregoing

 Motion with the Clerk of the Court using the ECF System, which will send

 notification to the ECF counsel of record.




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                                                 Respectfully submitted,

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 Dated: August 15, 2022




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